         Case 1:22-cv-00339-SPB Document 37-1 Filed 11/07/22 Page 1 of 4




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 PENNSYLVANIA STATE CONFERENCE                 )
 OF THE NAACP, et al.,                         )
                                               ) Civil Action No.: 1:22-cv-00339
                Plaintiffs,                    )
                                               )
         v.                                    ) Judge Susan P. Baxter
                                               )
 LEIGH M. CHAPMAN, et al.,                     )
                                               )
                Defendants.                    )

                       DECLARATION OF JOHN M. GORE
              IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

        I, John M. Gore, make this declaration in support of the motion for admission to appear

and practice in this Court in the above-captioned matter as counsel pro hac vice for Intervenor-

Defendants David Ball, James D. Bee, Debra Biro, Jesse D. Daniel, Gwendolyn Mae DeLuca,

Ross M. Farber, Lynn Marie Kalcevic, Vallerie Sicilano-Biancaniello, S. Michael Streib, the

Republican National Committee, National Republican Congressional Committee, and Republican

Party of Pennsylvania.

        I, John M. Gore, having been do hereby state as follows:

        1.     I am a Partner in the law firm Jones Day.

        2.     My business address is 51 Louisiana Avenue, N.W., Washington, D.C. 20001-

2113.

        3.      I am an active member in good standing of the bar of the District of Columbia (Bar

# 502027) and the State Bar of Texas (Bar # 24050676).

        4.     I am an inactive member of the bar of the State of Florida (Bar # 84218).
        Case 1:22-cv-00339-SPB Document 37-1 Filed 11/07/22 Page 2 of 4




       5.       I am a member in good standing of the bars of: the United States Supreme Court;

the United States Court of Appeals for the Second Circuit; the United States Court of Appeals for

the Third Circuit; the United States Court of Appeals for the Fourth Circuit; the United States

Court of Appeals for the Fifth Circuit; the United States Court of Appeals for the Sixth Circuit;

the United States Court of Appeals for the Seventh Circuit; the United States Court of Appeals for

the Ninth Circuit; the United States Court of Appeals for the District of Columbia Circuit; the

United States District Court for the District of Colorado; the United States District Court for the

District of Columbia; and the United States District Court for the Western District of Texas.

       6.       A current certificate of good standing from the District of Columbia Bar is attached

as Exhibit 1.

       7.       I attest that I am a registered user of ECF in the United States District Court for the

Western District of Pennsylvania.

       8.       I attest that I have read, know, and understand the Local Rules of the Court for the

United States District Court for the Western District of Pennsylvania.

       I certify and attest that the foregoing statements are true. I am aware that if any of the

foregoing statements are false, I am subject to punishment.



 Dated: November 7, 2022                                /s/ John M. Gore
                                                        JOHN M. GORE




                                                  -2-
Case 1:22-cv-00339-SPB Document 37-1 Filed 11/07/22 Page 3 of 4




                   Exhibit 1
  Case 1:22-cv-00339-SPB Document 37-1 Filed 11/07/22 Page 4 of 4




       On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                       the District of Columbia Bar does hereby certify that



                                     John Gore
   was duly qualified and admitted on December 11, 2006 as an attorney and counselor entitled to
     practice before this Court; and is, on the date indicated below, an Active member in good
                                         standing of this Bar.




                                                                            In Testimony Whereof,
                                                                        I have hereunto subscribed my
                                                                       name and affixed the seal of this
                                                                              Court at the City of
                                                                    Washington, D.C., on November 07, 2022.




                                                                             JULIO A. CASTILLO
                                                                              Clerk of the Court




                                                       Issued By:


                                                                          David Chu - Director, Membership
                                                                         District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
